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                                     No. 13-13444-AA

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                          U NITED S TATES OF A MERICA ,
                                                 Plaintiff-Appellee,


                                           v.

                                J EAN -D ANIEL P ERKINS ,
                      A / K / A D ANIEL M ATHEWS , A / K / A LJ,
                                                 Defendant-Appellant.



                 On appeal from the United States District Court
                      for the Northern District of Georgia
                           No. 1:10-CR-97-JEC-LTW-1

                       BRIEF OF APPELLEE
                  THE UNITED STATES OF AMERICA


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                   United States of America v. Jean-Daniel Perkins,
                         a/k/a Daniel Mathews, a/k/a LJ

             CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

      In addition to those listed in Appellant’s brief, the following people
      and entities have an interest in the outcome of this appeal:


      Abbott, Charles Michael, counsel to co-defendant Taylor
      Cochran, Anthony L, former counsel to co-defendant Taylor
      Combs, Toni, co-defendant
      Erskine, Kurt R., Assistant United States Attorney
      Lietz, Warren Carl, III, counsel to co-defendant Taylor
      McMahon, Patrick Francis, counsel to co-defendant Combs
      Taylor, Christopher, co-defendant
      United States of America, Appellee




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            STATEMENT REGARDING ORAL ARGUMENT

      Oral argument is unnecessary in this case. The issues and positions of

      the parties, as presented in the record and briefs, are sufficient to
      enable the Court to reach a just determination.




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                                  No. 13-13444-AA

            IN THE UNITED STATES COURT OF APPEALS
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                            U NITED S TATES OF A MERICA ,
                                                 Plaintiff--Appellee,


                                           v.

                               J EAN -D ANIEL P ERKINS ,
                     A / K / A D ANIEL M ATHEWS , A / K / A LJ,
                                                 Defendant--Appellant.




                     STATEMENT OF JURISDICTION

       (A) The district court had subject matter jurisdiction over the
           underlying criminal case based on 18 U.S.C. § 3231.
       (B) The court of appeals has jurisdiction over this direct appeal from
           the judgment and sentence of the district court, under 18 U.S.C.
           § 3742 and 28 U.S.C. § 1291.
       (C) While not jurisdictional, the notice of appeal was timely filed on
           July 29, 2013, within 14 days of the entry of the district court’s
           judgment and commitment order, on July 17, 2013. Fed. R. App.
           P. 4(b)(1)(A).

       (D) This appeal is from a final judgment and commitment order that
           disposes of all the parties’ claims in this criminal case.



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                       STATEMENT OF THE ISSUES

          1. Whether the district court denied Perkins the right to retained

             counsel when Perkins asked the court to appoint counsel and
             never retained one?

          2. Whether Perkins waived appellate review of the denial of his
             motions to suppress evidence by failing to object to the
             magistrate judge’s order, and whether the district court clearly

             erred in finding a photo lineup was not unduly suggestive and
             that the witness’s identification was otherwise reliable?

          3. Whether the district court abused its discretion by failing to
             recuse where Perkins’s pro se motion did not meet the statutory
             requirements and where Perkins showed no external bias?

          4. Whether the district court plainly erred by holding trial in
             Perkins’s absence where Perkins waived his right to appear and
             invited any error by refusing to leave lockup the morning of
             trial?

          5. Whether the district court plainly erred or whether Perkins
             invited any abrogation of his right to public trial by refusing to
             leave lockup the morning of trial?




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          6. Whether the evidence was sufficient to convict Perkins where
             several witnesses identified him, and where Perkins’s apartment
             was rented using a stolen name, date of birth, and social

             security number?

          7. Whether the district court clearly erred in finding that Perkins

             attempted to obstruct justice, and whether the district court
             abused its discretion by imposing a 360-month, below-
             Guidelines range sentence?

          8. Whether the district court abused its discretion by not ordering
             a competency hearing after Perkins adopted a sovereign-citizen
             strategy?




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                         STATEMENT OF THE CASE
          A. Course of Proceedings and Disposition Below

       A grand jury sitting in the Northern District of Georgia issued a

       superseding indictment charging Perkins with two bank fraud
       conspiracies, 30 counts of substantive bank fraud, four counts of
       access device fraud, and one count of aggravated identity theft.

       (Doc.35.) On June 28, 2011, after a four-day trial, a jury convicted
       Perkins on all counts. (Doc.178.) The district court denied Perkins’s
       motion for new trial and sentenced him to a total of 360 months’

       incarceration, five years’ supervised release, $510,509.01 restitution,
       and a $3,700 special assessment. (Docs.311,313.) Perkins, who is
       currently incarcerated, timely appealed. (Doc.314.)

          B. Statement of the Facts
             1. American Express

       Perkins fraudulently charged $3 million from American Express.
       (PSR¶20(a).) Perkins established over two dozen merchant accounts,
       which are accounts for businesses who wish to accept American
       Express cards as payment. (Doc.237-133-34,269;Doc.239-
       613,664,678.) Operating as a merchant, Perkins used stolen and
       counterfeit American Express card numbers to make fraudulent
       charges. (Doc.237-269–70;Doc.239-601-602,613,621-624,668–679.)




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          Following the merchant agreement, American Express would
       deposit the amounts into Perkins’s settlement accounts within days of

       Perkins entering the charges. (Doc.239-601–602,613–614,617,621-
       624,666,669.) By the time customers questioned the fraudulent
       charges, Perkins had drained the settlement accounts. (Doc.238-

       305;Doc.239-613,617–618,666–670.)
          An American Express investigator compiled records showing
       commonalities in the fraudulent merchant accounts. (Doc.238;239-

       669–673.) Many used the same telephone number, address, or
       settlement account number. (Id.) The investigator provided the FBI a
       list of fraudulent merchant accounts and the card account numbers

       that made fraudulent charges into those accounts. (Doc.239-673–679;
       Gov’t Ex.161.1.) FBI agents later found each of those merchant
       account numbers and compromised American Express card numbers
       on computers and thumb drives Perkins possessed when he was
       arrested, in a bag he left at a Tampa restaurant, and in his apartment.
       (Doc.239-683–706;Gov’t Ex.161.2,161.3,162–167.) They also found
       correspondence from American Express in the apartment, alerting the
       merchant account holder of American Express’s attempts to charge
       back, or obtain refunds of, fraudulent charges. (Doc.237-269–270.)




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          American Express is a federally-insured bank. (Doc.239-132.)
       Perkins’s intended loss to American Express exceeded $3 million,

       with an actual loss over $500,000. (PSR¶20(a).)

             2. Suntrust

       Perkins also attempted to defraud Suntrust bank.
       (PSR¶20(b);Doc.239-540.) Perkins met at least two Suntrust bank
       tellers socially, and obtained from them confidential account
       information, including the names of people authorized to sign
       withdrawals for high-value Suntrust accounts. (Doc.238-408–427,444–
       464.) The two insiders identified a picture of Perkins as the person to

       whom they gave printouts from Suntrust’s internal computer system.
       (Doc.238-319–320,412,447,467;Gov’t Exs.177,98.)
          Perkins used the confidential account information to pose as the
       true accountholders and apply for online account access, allowing him
       limitless transfers online. (Doc.238-379–383,386–393,407.) He also
       used the confidential information to submit bank forms that disabled
       security measures on the accounts, so that the bank would no longer
       seek to confirm the accountholder intended the transfers. (Doc.238-
       383,389.)

          The superseding indictment involved three accounts: Cooper &
       Company, a family-owned construction company; Ferry, Hayes, and
       Allen, an architectural firm; and the Georgia Tech Foundation, which



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       contained over $10 million. (Doc.35;PSR¶31;Doc.238-396–402;468–
       471;Doc.239-586–589,647–651;Gov’t Ex.98.) Perkins successfully

       transferred over $3.5 million from Cooper & Company. (Doc.238-
       396–402.) Fortunately, Gail Cooper, who pays the bills for the
       company, checks the account daily. (Doc.238-506;509.) When she saw

       the large withdrawals, she alerted Suntrust, which was able to reverse
       the withdrawals. (Doc.238-399–400;510.)
          Agents found the printouts from Suntrust’s internal computer

       system in one of Perkins’s bags. (Doc.238-314–317,426,466–
       467;Gov’t Exs.98,133.) Handwritten on the printouts were the names
       of people permitted to approve withdrawals for those accounts.

       (Doc.238-469,472;Gov’t Ex.98.) The printouts identified the Suntrust
       employees who accessed the information. (Doc.238-468,470.) The two
       bank insiders who printed the information testified at trial and
       confirmed that they printed the internal bank information, wrote the
       signatories on the printouts, and gave them to Perkins. (Doc.238-408–
       427,444–464.) Perkins also had information related to the three
       indicted accounts on a USB thumb drive he possessed when arrested,
       and on a computer in his apartment. (Gov’t Exs.159,160;Doc.239-
       540–562.)




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          Overall, Perkins obtained confidential information for 47 high-
       value accounts held by 13 depositors, worth over $20 million.

       (PSR¶20(b).)

             3. The undercover operation

       The FBI set up an undercover operation. (Doc.237-116–117.) An FBI
       agent posed as a consultant with access to internal bank database
       information. (Doc.237-117–118.) The agent was introduced to
       Perkins, who went by the aliases “Daniel Mathews” and “LJ.” (Doc.
       237-115–119.) The agent and Perkins spoke on the telephone, by
       email, and by text-message. (Doc.237-119.) Once introduced, the

       agent told Perkins that he could move money using the bank’s
       internal systems, and Perkins told the agent that he could get the
       money out of the banks. (Doc.237-132–135.) Perkins’s goal was to
       steal $50 million. (Doc.237-135.) The two consummated a few small
       trial transactions. (Doc.237-151–154,164–167.)
          The agent and Perkins also discussed credit card fraud. (Doc.237-
       137,144–147.) Perkins told the agent that he had a source for credit
       card information in Ukraine. (Id.) Later, agents found in Perkins’s car
       and apartment receipts for wires to Ukraine. (Doc.237-147,234–

       237,263–265;Gov’t Exs.26-29,90-92.) Internet chat records on a
       computer Perkins had with him when arrested show Perkins
       purchasing credit card information from a person in Ukraine, and



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       show information corresponding to a wire receipt found in his
       apartment. (Doc.239-706,709–724.) A file of stolen Discover card

       numbers (“200 Disco”) was also found on that computer, and on a
       thumb drive in Perkins’s apartment. (Doc.238-523–525;Doc.239-721–
       722;Gov’t Exs.153,154.)

          Perkins told the agent that he would put the compromised credit
       card information onto the magnetic strips of blank credit cards using
       a MSR206 card writer. (Doc.237-172–174.) A MSR206 was later

       found in Perkins’s apartment, connected with an old serial-to-USB
       connection just as Perkins had described to the agent; a manual for a
       MSR206 was found on a thumb drive in Perkins’s pocket on arrest.

       (Doc.237-172–174,191,240–245;Doc.238-525,539;Gov’t Ex.155.)
          Perkins also told the agent that he purchased camera equipment
       using stolen card numbers. (Doc.237-153.) The equipment was later
       found in Perkins’s apartment with receipts showing that it was
       purchased with stolen Discover cards; those card numbers were found
       on Perkins’s electronic media. (Doc.237-266–269;Doc.239-658–
       659;Gov’t Ex.173.) Perkins offered the agent card data as payment.
       (Doc.237-156,168–171,175–177.)
          Eventually, the agent and Perkins met at a Ruby Tuesdays
       restaurant in Atlanta. (Doc.237-118–119,181–189.) The FBI
       videotaped and recorded the meeting. (Doc.237-182–192;Gov’t



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       Exs.10,11.) During the meeting, Perkins handed 12 fraudulent credit
       cards to the undercover agent. (Id.;Gov’t Ex.12.) When they left the

       restaurant, Perkins was arrested. (Doc.237-118-119,196.)
          On arrest, Perkins possessed two Georgia Driver’s licenses, one in
       the name of Jean-Daniel Perkins, with a number and address that

       were registered with the Georgia Department of Motor Vehicles.
       (Gov’t Ex.13;Doc.237-224–226.) The other, for which there is no
       record at Georgia DMV, had the same picture but was in the name

       Daniel J. Mathews. (Gov’t Ex.14;Doc.237-225–226.) He also had
       around $3,250 cash and 20 counterfeit credit cards in his pocket,
       some under the Mathews name, but none under the name Perkins.

       (Gov’t Exs.16–19,19.1;Doc.237-227–229.) Perkins also had receipts
       for more camera equipment he told the undercover agent he
       purchased with stolen credit card information. (Gov’t Exs.23,23-
       A,23.1,23.2;Doc.237-194,230–233.) The card number on those
       receipts matched one of the fraudulent cards found on Perkins in the
       name Daniel Mathews. (Doc.237-233.) The actual equipment was
       discovered in Perkins’s apartment. (Doc.237-194-195,233.) Perkins
       had a cellular telephone with a number matching the one that the
       agent used to call LJ. (Gov’t Ex.20;Doc.237-197,229–230.) Perkins
       possessed a USB thumb drive and a computer, which contained data
       relating to the 12 credit cards Perkins gave the undercover agent.



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       (Gov’t Exs.21,22;Doc.237–230.) At the time of his arrest, Perkins had
       a computer file over 13,000 pages long, containing at least 100,000

       card account profiles. (PSR¶¶20(c),60.) Perkins arrived at the Atlanta
       Ruby Tuesdays in a black Cadillac Escalade that he drove, but that
       was registered in someone else’s name. (Doc.237-182,211,233–234;

       Doc.239-598,631–632;Gov’t Ex.24.)
          During trial, the undercover agent identified the defendant as the
       person he met at the Atlanta Ruby Tuesdays who handed him the

       counterfeit cards. (Doc.237-119,189,198;Gov’t Ex.177.) The arresting
       agent also identified the defendant on trial as the person he had
       arrested, on whom he found the driver’s licenses, cell phone, credit

       cards, computer, and thumb drive. (Doc.237-224,253;Doc.238-
       303,319–320;Gov’t Ex.177.)

             4. The Tampa bag

       A few months before the undercover operation, employees of a Ruby
       Tuesdays in Tampa, Florida found a bag that had been left there.
       (Doc.238-338–339.) A restaurant manager, Matthew Delellis, retrieved
       the bag from under the table. (Doc.238-339–340.) When he looked
       inside to find contact information for the owner, he saw numerous

       credit cards in various names. (Doc.238-340.) Employees called the
       police, who retrieved the bag. (Doc.238-341.)




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          Later that day a man called asking for a bag he had left. (Doc.238-
       341–343.) A man and woman then showed up and looked under the

       table where Delellis had found the bag. (Doc.238-343–344.) He asked
       Delellis for his bag. (Doc.238-345.) The man left his name, Daniel
       Mathews, and a phone number. (Doc.238-357–358.) The next day,

       the police officer who recovered the bag called the number. (Doc.238-
       358.) The man who answered confirmed that he was Daniel Mathews,
       and said that his lawyer would be in contact about getting it back.

       (Doc.238-358.) No one did. (Doc.238-357.)
          Within a month, a Tampa FBI agent retrieved the bag and, three
       weeks later, obtained a search warrant for it. (Doc.83-156,166.) The

       bag contained fraudulent credit cards, a folder with printouts from
       the internal Suntrust computer system, a laptop computer, and a hard
       drive. (Doc.238-313–318;Gov’t Ex.129–134.)
          At trial, Delellis identified the defendant from a photo array as the
       man who returned to the restaurant looking for his bag. (Doc.238-
       346–347;Gov’t Ex.178.) He also identified the defendant based on his
       seeing him at the suppression hearing. (Doc.238-348;Gov’t Ex.177.)

             5. Gables apartment 1212

       After obtaining a search warrant, the FBI searched Gables apartment
       #1212, 820 West Marietta Street, in Atlanta. (Doc.109-1;Doc.237-
       237–238;Gov’t Ex.30–55.) In the kitchen, agents found a computer



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       hooked up to a MSR206 card writer through a serial-to-USB
       connection. (Doc.237-239-243–245.) Also connected to that computer

       was a USB thumb drive, which computer forensics later showed
       contained information for the 12 fraudulent cards Perkins gave to the
       undercover agent. (Doc.238-312;Gov’t Ex.128.)

          The apartment contained camera equipment corresponding to the
       equipment Perkins told the undercover agent he purchased using
       fraudulent cards, and which matched the credit card receipts found

       on Perkins. (Doc.237-244,267–269;Gov’t Exs.93.) Drawers in the
       apartment contained stacks of fraudulent credit cards, around 400 of
       them, and there were blank cards as well. (Doc.237-244–248,259–

       261;Gov’t Exs.71–83.) There was an uncashed $72,000 check from
       Suntrust, not made out to Perkins, and screenshots from Suntrust’s
       internal computer system, including one for Ferry, Hayes, and Allen.
       (Doc.237-261–262,270–272;Gov’t Exs.85,98–99.) There were also
       checks from Cooper & Cooper. (Doc.237-272–273;Gov’t
       Exs.101,102.) There were letters from American Express regarding
       merchant accounts, one regarding a disputed $165,000 charge.
       (Doc.237-269–270;Gov’t Exs.96,97.)
          The apartment contained an identification-card writer, which can
       create driver’s licenses, as well as failed prints of Ohio Driver’s
       licenses. (Doc.237-247–248,257–260;Gov’t Exs.69,70,81.) It also had



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       credit card swipers that merchants use, and wire receipts showing
       transfers to Ukraine in the same names as was on the Internet chats

       on Perkins’s computer when he was arrested. (Doc.237-255–256,263–
       265;Gov’t Exs.65,66,90–92.)
          Gables records show that Apartment 1212 was leased by Lisa

       Evans. (Doc.237-238,274.) The Gables’ leasing file for Apartment
       1212 contains a copy of an Ohio driver’s license in that name, and
       the application contains Evans’s date of birth and social security

       number. (Doc.237-274–276;Gov’t Ex.115.) The lease paperwork
       shows that the company ran credit and other history information on
       Evans. (Gov’t Ex.115.) Inside the apartment was correspondence

       addressed to Lisa Evans from Gables informing the occupant of
       unpaid bills, as well as from an insurance company related to renter’s
       insurance. (Doc.237-277;Gov’t Exs.108-112.)
          Lisa Evans testified at trial that she has lived at the same residence
       in Dallas, Georgia for the past 14 years. (Doc.238-333.) She has never
       rented an apartment in Atlanta. (Doc.238-334.) The lease paperwork
       and driver’s license show her true date of birth and social security
       number, but she has never had an Ohio’s driver’s license. (Doc.238-
       336.) And she is not pictured on the Ohio license. (Doc.238-337.)
       While the driver’s license shows a picture of an African-American
       woman, Ms. Evans is caucasian. (Doc.237-276–277.)



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          While the one-bedroom apartment was leased in the name of Ms.
       Evans, only men’s clothes were in the closets. (Doc.237-247.) The

       apartment contained a birth certificate from Louisiana for Jean-Daniel
       Perkins. (Doc.237-250–251.) The only other birth certificate was
       blank. (Doc.237-250–252.) Perkins was born in New Orleans.

       (Doc.237–251.) John Sorden, a co-defendant, testified that Perkins
       lived in the apartment with his girlfriend. (Doc.239-628,638,639.)
       Sorden also identified Perkins from a photo at trial, and testified that

       Perkins went by the names Jean, LJ, and Daniel Mathews. (Doc.239-
       593;Gov’t Ex.177.)
          The apartment contained a Sam’s Club card with a picture of

       Perkins, and a fake Ohio driver’s license with a picture of Perkins but
       in a different name. (Doc.237-249,252-253;Gov’t Exs.58,61–63.)
       There was an ASCAP music application in the name of Perkins, and a
       Delta Air Lines boarding pass in his name. (Doc.237-253–254;Gov’t
       Ex.64,105.) The only photo album in the apartment had photos of
       Perkins. (Doc.237-249–250;Gov’t Ex.56.) There were also documents
       related to his Escalade. (Doc.237-254–255;Gov’t Exs.106,107.)
       Finally, the apartment contained the lease agreement to Perkins’s old
       apartment, the same address as was found on Perkins’s driver’s license
       when he was arrested. (Doc.237-171;Doc.238-307–308;Gov’t
       Exs.13,114.)



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             6. Suppression motions

       Perkins’s first counsel filed preliminary motions to suppress evidence

       and identifications. (Docs.19,21,15.) The United States represented
       that it would not present evidence from a computer turned in by a
       confidential informant, thus mooting that issue. (Doc.83-199–

       200;Doc.109-2n.3.)
          When ordering a post-hearing briefing schedule, the magistrate
       judge told Perkins’s second counsel to brief the issues he wished

       perfected, and that the remaining issues would be deemed
       abandoned. (Doc.83-202.) Perkins’s post-hearing brief argued that the
       out-of-court identifications should be suppressed, and that a new

       hearing should be held to determine whether the search warrants were
       tainted by those identifications. (Doc.92-4–8.) Perkins argued no
       other issues. (Id.) Accordingly, the magistrate judge recommended that
       Perkins’s motions to suppress evidence be deemed waived, and moot.
       (Doc.129-2–4.) The magistrate judge recommended denying Perkins’s
       motion to suppress out-of-court identifications. (Doc.129-14–23.)
       Because the identifications passed muster, the magistrate judge
       recommended no further hearings regarding the search warrants.
       (Doc.129-23.)
          Perkins objected only to the denial of his motion to suppress
       identifications. (Doc.134-1.) In his objections, Perkins did not argue




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       that the contents of the Tampa bag, his apartment, and his various
       electronic media should be suppressed, nor that a further hearing was

       warranted as to the search warrants because of purportedly improper
       identifications. (Doc.134-1–3.) The district court adopted the Report
       and Recommendation. (Doc.145.)

          At trial the United States presented identification evidence from
       only one of the four witnesses at issue in Perkins’s motion. Mr.
       Delellis, a manager at the Tampa Ruby Tuesdays, testified that he got

       a good look at Perkins and was able to identify him fairly quickly from
       a pretrial photo array, with 98% confidence. (Doc.238-345–349.) On
       cross-examination, defense counsel suggested that Perkins was the

       only person with gold teeth in the photo array, but Delellis pointed
       out that at least two of the six had their mouths closed, so he was not
       sure if those men also had gold teeth. (Doc.238-50–51.) Delellis also
       testified at trial, without objection, that he saw Perkins during the
       suppression hearing, and that Perkins was the person he saw in the
       Tampa Ruby Tuesdays seeking the bag. (Doc.238-348;Gov’t Ex.177.)

             7. Refusal to attend trial

       The Friday before trial, the district court held a pretrial conference.

       (Docs.157,253.) After pages of sovereign-citizen jargon, Perkins
       became angry, and began talking over the court, making it impossible
       to speak in the courtroom. (Doc.253-24–41;Doc.313-7–11.) The court



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       met counsel in chambers to discuss how to proceed should Perkins
       continue his outbursts during trial and have to be removed. (Doc.253-

       43–49;Doc.313-11.)
          The morning of trial, Perkins refused to leave Marshal’s lockup.
       (Doc.236-2–4-;Doc.313-11–12.) When the court sent a deputy

       marshal to see if Perkins would appear, Perkins told the deputy that
       they were “going to have to beat me,” that he would “be kicking and
       screaming to go into the courtroom,” and “if it’s on, it’s on.”

       (Doc.236-26-27;Doc.313-12–13.) Perkins stood with his back all the
       way against the wall, his voice level rose, getting increasingly excited.
       (Doc.236-27;Doc.313-13.)

          After consulting with defense counsel and prosecutors, and given
       Perkins’s resistance, the judge, court reporter, defense counsel, and a
       prosecutor visited Perkins in lockup to explain his rights. (Doc.236-3–
       20,24–38;Doc.313-13.) When the court entered lockup, Perkins
       “immediately became violent, kicking so hard against the door that
       the deputy marshals became alarmed and opened the door to remove
       him.” (Doc.313-13;Doc.236-39.) The court ordered them not to. (Id.)
       While the judge explained his rights, Perkins talked over her the
       entire time. (Doc.236-39–46;Doc.313-14.) The court explained that
       she wished Perkins would come to the courtroom, but otherwise he
       could watch the trial from lockup. (Id.) Perkins loudly repeated, “I



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       don’t understand. I don’t agree” the entire time. (Doc.236-39–
       46;Doc.313-14–15.)

          The court returned to the courtroom, where the court repeated
       Perkins’s rights while Perkins watched and listened to a live audio-
       video feed. (Doc.236-46–48;Doc.313-15.) The judge let Perkins know

       she would ask counsel to visit him during the day to consult, and that
       Perkins would have a pen and notepad. (Doc.236-47–48.) Defense
       counsel voiced no objection to either the visit to lockup nor to these

       procedures. (Doc.236.) The next morning, after jury selection, Perkins
       still refused to attend, counsel said that he objected to the video feed
       and other procedures, but he made no suggestion other than wanting

       trial stopped. (Doc.237-58–59.)
          During trial, the court asked defense counsel to visit Perkins
       during breaks, and otherwise consulted with counsel about the proper
       way to proceed. (Doc.237-59,67–68;Doc.238-287–
       288,394,531;Doc.239-535–536,644–645,727.) When the prosecutor
       raised the possibility of bringing Perkins to court for an identification,
       defense counsel noted that “it’s my job to keep the prejudice down if I
       can,” and suggested that the FBI agent who acted undercover could
       identify Perkins from a picture. (Doc.237-130.) When a deputy later
       offered to use extra manpower to bring Perkins to the courtroom,
       defense counsel observed: “I don’t think having [Perkins] forced to



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       court and having extra security, I think that’s going to prejudice him
       more than not being here.” (Doc.238-291.)

          At the close of evidence, defense counsel moved for acquittal on
       the aggravated identity theft count on the basis that the evidence did
       not show Perkins knew Lisa Evans, and that the evidence showed that

       other people had access to the apartment. (Doc.239-730.) Otherwise,
       defense counsel argued solely: “And as to the other counts, we would
       move for a judgment of acquittal on the grounds that the government

       has not created a prima facie case of conspiracy or that Mr. Perkins is
       guilty of the substantive counts.” (Id.)

              8. Jail calls

       On jail calls before and during trial, Perkins, his mother, and his
       brother discussed Rule 43 of the Federal Rules of Criminal
       Procedure, regarding a defendant’s presence at trial. (Doc.309(1)-108–
       123.) Perkins discovered that “trial cannot commence … without the
       presence of the defendant.” (Doc.309(1)-22;Doc.313-17.) Perkins
       asked his family to research the legal terms “presence” and “absence,”
       and they discussed Rule 43 and various case law, including the
       Supreme Court’s Crosby decision; Perkins even provided citations for

       them to review. (Doc.309(1)-108–123,105–107;Doc.313-17.) Perkins
       explained that not being present at the beginning of trial is “a major




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       loophole.” (Doc.309(1)-120.) According to Perkins, what he needed to
       do the morning of trial was act crazy:

          Oh, okay. I got it. I got to go straight plumb nuts before they
          even pick the jury. That’s what I gotta do. I gotta go haywire on
          that bitch.
          ….
          Oh, okay. So I gotta be … plumb nuts before the shit even pop
          up. Don’t never … don’t never act sensible.
          …
          That’s how you gotta do it. “Who said I want to go trial. I don’t
          want to go to no mother fucking trial. I don’t want no jury trial
          … How you gonna make me have a jury. …This shit ain’t
          popping off, you mother fucking bitch….” And just go crazy on
          that mother fucker.
          ….
          Yeah. I need to get that down. Okay. You bitches want to play
          games. This shit going to get real zoo-like.


       (Doc.309(1)-26–27;Doc.313-17–18.) Perkins recognized that once trial
       started the judge can remove him. (Doc.309(1)-57;Doc.313-19.) He
       acknowledged that “presence is the most essential thing I see they
       need….” (Doc.309(1)-48;Doc.313-19.)
          After the court visited Perkins in lockup, Perkins boasted to his
       family that he outsmarted everyone:

          I went cold turkey on them bitches this morning. You hear me?
          …




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          I didn’t even go out there … [T]he judge kept sending people up
          there…trying to beg me to come down there and … talk on the
          record… I was like, no, fucker.
          …
          So, I kept on saying…and it was recorded and I kept saying it
          loud, talking over. I kept saying I do not understand. I don’t
          agree. I do not understand. I do not understand.


       (Doc.309(1)-65–66;Doc.313-20–22.)
          Perkins said that he found the way to avoid punishment:

           [M]a, I’m going to give you…I’m going to give you the game
          right now. I figured it out. You ever get a charge…don’t go to
          court. Don’t…Don’t [unintelligible]. When they get you in the
          building, you not, you not going in that bitch.
          …
           [T]he book says that trial doesn’t start until you…until…until
          you are in the court…until you…until you present. That’s why I
          had you looking up all that shit (untelligible) for until you are
          present. And once you are present, right, you have to be present
          when the first juror is sworn in and go to…I never…you have to
          be in the court and cross the bar. I never…I’m not…that’s my
          new thing. I ain’t going to court. When I get out of this mother
          fucker, I ain’t going to no court no more…I’m not even crossing
          the bar.
          …
          Yeah. I feel why this shit is so dangerous here, ma. I see why
          everybody ain’t supposed to know this shit though.
          …
          I see why. I going to have more of a respect for it though, you
          know what I’m saying. Because that shit could fuck the whole …
          this shit could fuck the whole system up, man. This shit could
          go crazy, man.



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       (Doc.309(1)66,77–78;Doc.313-22.)
          After the verdict, Perkins moved for a new trial claiming a

       violation of Rule 43, requiring his presence at the beginning of trial.
       (Doc.190.) In a 56-page order, the district court denied Perkins’s
       motion, finding that trial commenced in lock-up, Perkins waived his

       presence, and that he invited any error. (Doc.313.)

              9. Sentencing

       Perkins did not object to the facts in the PSR. (PSR¶¶19–70,86–145.)
          Perkins was arrested 19 times between the ages of 7 and 14.
       (PSR¶¶95–114;Doc.326-45,52,59.) His adult record includes

       possession of crack and another federal fraud conviction, in total
       earning him a criminal history category of IV. (PSR¶¶87–90.) The
       PSR recommended a Guidelines range of life plus 24 months. (PSR-
       45.)
          Perkins refused to appear for sentencing. (Doc.326-2–8,11–18.)
       When the court tried to see him in lockup, he hid in the bathroom.
       (Doc.326-4–6,11–18.) So the court broadcast sentencing to him
       through live audio-video. (Doc.326-4–6,18–20.) Over objection, the
       court assessed Perkins a two-point enhancement under USSG

       § 3C1.1 for attempting to obstruct justice. (Doc.326-21,36,41–42.)
       The district court upheld much of Perkins’s objections as to loss, and
       calculated Perkins’s Guidelines range as 360–life, plus a 24-month



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       mandatory minimum consecutive sentence for aggravated identity
       theft. (Doc.326-21–32,41–44,57–58.) The court concurred with the

       government’s recommendation to vary downward, imposing a total
       sentence of 360 months’ incarceration. (Doc.326-22,54,58–62.)
          The district court explained that it would have imposed a 360-

       month sentence regardless of the Guidelines range: “So I will say
       when I ultimately sentence that wherever that Guideline is I would
       give the same sentence anyway.” (Doc.326-58.) It also explained that it

       had never had a fraud case this extensive, and that it hadn’t “seen
       anybody that has a less compliant attitude toward the law or less regret
       than Mr. Perkins.” (Doc.326-59.) The court concluded that “society

       would be in grave danger with a sentence that wasn’t sufficiently
       long.” (Doc.326-61.)

          C. Standards of Review

          1. “When a party invites error, the Court is precluded from
       reviewing that error on appeal.” U.S. v. Brannan, 562 F.3d 1300, 1306
       (11th Cir.2009).

          2. The failure to object to a magistrate’s report and
       recommendation waives appellate review. Fed. R. Crim. P. 59. A
       district court’s determination that an identification procedure was not
       unduly suggestive is reviewed for clear error. Cikora v. Dugger, 840 F.2d




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       893, 895–96 (11th Cir.1988). When a party fails to object to
       evidence, review is for plain error. U.S. v. Jernigan, 341 F.3d 1273,

       1280 (11th Cir.2003).

          3. The denial of a motion to recuse is reviewed for abuse of
       discretion. U.S. v. Berger, 375 F.3d 1223, 1227 (11th Cir.2004). If a

       party fails to seek recusal below, the recusal request is reviewed for
       plain error. Id.

          4. The district court’s interpretation of a procedural rule is

       reviewed de novo. U.S. v. Sterling, 738 F.3d 228, 234 (11th Cir.2013).
       The district court’s factual finding that a defendant voluntary waived
       his presence is reviewed for clear error. Id. This Court “consider[s]

       whether the district court abused its discretion in concluding that
       there was on balance a controlling public interest to continue the trial
       in the defendant’s absence.” Id. Where the defendant does not timely
       object, a district judge’s decision to continue trial in his absence is
       reviewed for plain error. U.S. v. Martinez, 604 F.2d 361, 365 (5th
       Cir.1979).

          5. Where a defendant does not object at trial, the denial of a
       public trial is reviewed for plain error. U.S. v. Bucci, 525 F.3d 116, 129
       (1st Cir.2008).




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          6. Where a sufficiency challenge is not raised below, review is
       limited to whether the convictions resulted in a manifest miscarriage

       of justice. U.S. v. Houser, — F.3d —, 2014 WL 2767200, at *11 (11th
       Cir.2014).

          7. A district court’s fact findings regarding a sentencing

       enhancement are reviewed for clear error, and its application of the
       Guidelines de novo. U.S. v. Tampas, 493 F.3d 1291, 1303 (11th
       Cir.2007). The Court reviews the substantive reasonableness of a

       sentence for abuse of discretion. U.S. v. Pugh, 515 F.3d 1179, 1190
       (11th Cir.2008).

          8. This Court reviews the district court’s decision not to sua sponte

       order a competency hearing for abuse of discretion. U.S. v. Lindsey,
       339 F. App’x 956, 959 (11th Cir.2009); U.S. v. Williams, 468 F.2d
       819, 820 (5th Cir.1972). The Court reviews a district court’s
       determination that a defendant is competent to stand trial for clear
       error. Ferguson v. Sec’y for Dep’t of Corrections, 580 F.3d 1183, 1221
       (11th Cir.2009).




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                        SUMMARY OF THE ARGUMENT

       The district court did not force appointed counsel on Perkins. Perkins

       requested appointed counsel at his initial appearance, and never
       retained counsel.
          By not objecting to the magistrate’s judge’s recommended denial of

       his motions to suppress evidence, Perkins waived appellate review.
       Perkins objects to certain out-of-court identifications, but of those
       only one witness identified Perkins at trial. The district court did not

       clearly err in finding that the witness was not shown an unduly
       suggestive photo lineup, and in any case provided a reliable
       identification. Plus any error was harmless. The district court did not

       plainly err by allowing that witness to identify Perkins from a prior
       court hearing.
          The district court did not abuse its discretion by not recusing.
       Perkins failed to obey the statutory requirements, and the judge had
       no bias external to the case.
          Controlling precedent holds that the district court did not err in
       proceeding with trial when Perkins refused to attend.
          The district court did not plainly err by convening trial in lockup.
       And by refusing to leave lockup, Perkins invited any potential
       violation of the right to public trial.




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          The evidence supports conviction. Despite Perkins’s refusal to
       attend, several witnesses identified him as the defendant, including

       the undercover agent who met Perkins, another who arrested him,
       and several cooperating co-conspirators. The use of a fraudulent
       driver’s license that included the victim’s name, date of birth, and

       social security number to lease an apartment supports Perkins’s
       conviction for aggravated identity theft.
          The district court did not abuse its discretion in sentencing

       Perkins. The district court did not clearly err in concluding that
       Perkins attempted to obstruct justice by refusing to appear, and by his
       other manipulative efforts to impede trial.

          The district court did not abuse its discretion by not ordering a
       competency hearing. Perkins led some of the more complex fraud in
       this district, and the evidence, including his jail calls, show him to be
       intelligent, coherent, and articulate. His sovereign-citizen mantras
       were not the result of incapacity, but a purposeful effort to manipulate
       the justice system.




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           ARGUMENT AND CITATIONS OF AUTHORITY
       1. Because Perkins requested appointed counsel, and swore to a
          financial affidavit showing that he could not afford one, he
          invited the district court to appoint counsel.

       At his initial appearance, Perkins specifically requested appointed
       counsel, and swore to a financial affidavit showing that he was unable
       to afford an attorney:

          The Court: You may hire your own attorney or, in the event
          you are not able to afford an attorney, the Court may appoint
          someone to represent you at no cost to you.
              It is my understanding that you would like for the court to
          appoint someone to represent you and that you are not able to
          afford an attorney, is that correct?

          The Defendant: Yes, Ma’am.

          The Court: Okay. To that extent you have completed a
          financial affidavit. Do you either swear or affirm that the
          information provided in the affidavit is true to the best of your
          knowledge?

          The Defendant: Yes, Ma’am.

          The Court: Okay. Based on this information the Court will
          deem that you are not able to afford an attorney and the Court
          will appoint [one].


       (Doc.335-3;PSR¶144.) Perkins did not object to the court’s finding of
       indigency at the initial appearance, nor when the court later issued its



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       Order Appointing Counsel. (Doc.2.) Because Perkins invited the
       court to appoint counsel, this Court is precluded from reviewing the

       issue on appeal. U.S. v. Brannan, 562 F.3d 1300, 1306 (11th Cir.2009)
       (holding that “[w]here a party invites error, the Court is precluded
       from reviewing that error on appeal.”).

          The record does not support Perkins’s claim, made for the first
       time on appeal, that he could afford counsel and was deprived of his
       right to retain one. The record does not show that Perkins hired

       counsel, and no retained counsel entered an appearance. Neither does
       the record show any changed financial circumstances. Perkins never
       filed a revised financial affidavit, nor did he or his counsel otherwise

       represent that he could afford counsel. The PSR includes Perkins’s
       financial statement to pretrial services after his arrest, and shows an
       unverified net worth of $7,500. (PSR¶144.) Neither Perkins nor his
       counsel objected to this paragraph of the PSR.
          When Perkins filed an appeal, this Court found that, “Perkins has
       established poverty by way of an affidavit of indigency.” (Doc.250-1.)
       Perkins then swore to this Court that he was unable to pay a filing fee.
       (Doc.287-1–2.) To this day, Perkins maintains appointed counsel.
       Perkins’s appellate counsel was appointed under the CJA, and neither
       Perkins nor appellate counsel has indicated that she should forego her
       CJA appointment based on Perkins’s financial status.



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          Perkins’s pro se pleadings, most of which he filed after trial, as well
       as the pretrial hearing where he asserted that he is “not indigent, not a

       ward,” were part of his sovereign-citizen strategy. Perkins cites no
       pleading or hearing where he or his counsel say that Perkins retained
       counsel or wished to do so. While defense alludes to a conflict, the

       defense does not argue on appeal that a different CJA attorney should
       have been appointed. (Def. Br. at 21–22.) And the record shows that
       despite being given a number of opportunities, Perkins never asked to

       represent himself. (Docs.143,151,253-24–41.) While Perkins
       complains that the district court did not further explore the claimed
       conflict, defense counsel explained to the trial court that it stemmed

       from Perkins threatening to file lawsuits and liens against him.
       (Doc.253-33.) The record does not show any lawsuits or liens were
       filed, and in his jail calls Perkins explained that he filed none because
       counsel had done what he told him to do. (Doc.309(1)-18,99.)
       Moreover, a defendant’s threatening to file liens cannot alone create a
       conflict; otherwise a defendant could repeatedly delay trial
       proceedings, as Perkins was trying to do, merely by making such
       threats.
          In short, after asking for appointed counsel, Perkins declared
       himself a sovereign-citizen and implemented a strategy of trying to
       avoid trial by declining all of the available options: he did not hire



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       counsel, he did not want appointed counsel, and he did not want to
       represent himself.

       2. By failing to object to the R&R, Perkins waived appellate review,
          and the district court did not clearly err in finding that the
          witness who identified Perkins at trial did not do so on the basis
          of an unduly suggestive photo lineup.

       Perkins objected to the magistrate judge’s recommending denial of his

       motion to suppress identifications, but did not object to the denial of
       his motions to suppress evidence, nor did he argue for a further
       hearing as to the search warrants. The district court adopted the

       R&R.

          A. Perkins waived appellate review of his motions to suppress
             evidence by failing to object to their denial in the R&R.

       The cover sheet of the R&R specifically advised the parties that
       objections were due within 14 days, and that, the failure to object
       waives a party’s right to appellate review. (Doc.129-25-26.) Rule 59
       provides that a party’s failure to timely file specific written objections
       to a magistrate judge’s report and recommendation waives review.
       Fed. R. Crim. P. 59(a),59(b)(2). While Perkins objected to the
       recommended denial of his motion to suppress identifications, he did
       not object to the denial of his motions to suppress evidence. Because
       Perkins did not object to the denial of his motions to suppress

       evidence, he has waived appellate review.




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          Perkins argues that his preliminary motion to suppress sufficed to
       satisfy the magistrate’s instruction during the evidentiary hearing that

       Perkins must brief the issues he wished to pursue, and would be
       deemed to have abandoned the rest. Not true. By the evidentiary
       hearing, Perkins had already waived any suppression issues outside of

       those in his preliminary motions to suppress. (Fed. R. Crim. P.
       12(b)(3),12(e);N.D.Ga.Cr.R.12.1(b) (requiring suppression issues be
       raised within 14 days of arraignment).) The magistrate’s order, at the

       end of the evidentiary hearing, required further briefing in order to
       perfect the issues raised in Perkins’s preliminary motions. Perkins’s
       argument leaves unanswered what other issues Perkins thinks the

       magistrate judge was referring to other than the issues he raised in his
       preliminary motions to suppress. Regardless, Perkins’s argument fails
       in light of his separate waiver of appellate review because of his failure
       to specifically object to the recommended denial of his motions to
       suppress evidence.
          Perkins complains that the district court admitted into evidence
       the laptop computer found in the Tampa bag, and asserts that the
       government represented during the suppression hearing that it would
       not rely on the Tampa evidence at trial. Perkins is mistaken. At the
       suppression hearing, the government explained that it intended to
       introduce the contents of the Tampa bag, including the laptop



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       computer and the data found on it, and represented that it would not
       introduce a different laptop computer, the computer which a

       confidential informant gave to the FBI:

          The Court: … But what the government has said they are not
          going to use is that they’re not using evidence obtained from
          the laptop.

          [Defense counsel]: And which laptop is that; Judge?

          The Court: I’m assuming that’s the laptop that was found in
          the bag in Tampa; is that correct?

          [Prosecutor]: No, Your Honor.

          The Court: Oh.

          [Prosecutor]: We are using the laptop in the bag in Tampa. We
          are not using the laptop that Mr. Whitfield [the informant]
          provided in early November.

          The Court: Okay.

          [Prosecutor]: That was the subject — I think both laptops were
          the part of the same motion to suppress.

          The Court: Okay. Because you just said laptop when you
          started off.




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          [Prosecutor]: My apologies. Docket entry number 51 [Perkins’s
          supplemental motion to suppress evidence] talks about both the
          Tampa laptop and the laptop Mr. Whitfield provided. We are
          not going to use evidence from the laptop Mr. Whitfield
          provided, but we will use evidence from the laptop that was
          found in the bag in Tampa.
          …
          In the bag was electronic storage media, the laptop, and an
          external hard drive … We plan to use evidence from both of
          those storage media.


       (Doc.83-199–200;Doc.109-2n.3.)
          The government held true to this representation. It was defense

       counsel who, during cross-examination of government witnesses,
       referred to the laptop given to the FBI by the informant. (Doc.238-
       326–327;Doc.239-574;Doc.238-331.) Nowhere at trial does defense

       counsel complain of any misrepresentation by the government.
       Because the United States did not violate any representation it made
       during the suppression hearing, and because Perkins did not object to
       the magistrate’s order, Perkins waived review of the denial of his
       motions to suppress evidence.

          B. The district court did not clearly err by finding that the photo
             array was not unduly suggestive, and that the restaurant
             manager who saw Perkins reliably identified him.

       Perkins complains that the district court erred by denying his motion
       to suppress four out-of-court identifications. Of these, only one was




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       introduced at trial, that of the manager of the Tampa Ruby Tuesdays
       where Perkins left his bag.

          “[R]eliability is the linchpin in determining the admissibility of
       identification evidence.” Manson v. Brathwaite, 432 U.S. 98, 114, 97 S.
       Ct. 2243, 2253 (1977). This Court uses a two-step analysis to

       determine whether the admission of an out-of-court identification
       violates due process. U.S. v. Diaz, 248 F.3d 1065, 1102 (11th
       Cir.2001). First, a court must determine if the original identification

       procedures were unduly suggestive. Id. If so, the identification may
       still be admissible if, under the totality of circumstances, the
       identification was nonetheless reliable. Id. The district court did not

       clearly err in finding that the photo lineup shown to the restaurant
       manager was not improperly suggestive, and that in any case the
       identification was sufficiently reliable.

              1. The district court did not clearly err in adopting the
                 magistrate judge’s finding that the photo lineup was not
                 unduly suggestive.

       “[C]onvictions based on eyewitness identification at trial following a
       pretrial identification by photograph will be set aside … only if the
       photographic identification procedure was so impermissibly suggestive
       as to give rise to a very substantial likelihood of irreparable

       misidentification.” O’Brien v. Wainwright, 738 F.2d 1139, 1140 (11th
       Cir.1984) (citation omitted). When determining whether a photo



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       array is unduly suggestive, a court considers the size of the array, the
       manner of its presentation, and details of the photographs themselves.

       U.S. v. Sanchez, 24 F.3d 1259, 1262 (10th Cir.1994); U.S. v. Rosa, 11
       F.3d 315, 330 (2d Cir.1993).
          As the magistrate judge found, the size of the array, here six

       photos, militates in favor of a finding that the photo array was not
       unduly suggestive. (Doc.129-15.) See, e.g., Rosa, 11 F.3d at 330
       (affirming as not unduly suggestive an array of six photographs). Nor

       was there anything suggestive about the manner in which the photo
       array was presented. (Doc.129-15). Restaurant manager Delellis
       testified that the law enforcement officer did not suggest or indicate

       which picture should be selected; the officer simply asked whether he
       recognized anyone on the page. (Doc.129-15;Doc.83-117,120,127.) See
       U.S. v. Knight, 382 F. App’x 905, 907 (11th Cir.2010) (concluding that
       procedure was not unduly suggestive where officer asked witness to
       identify any individual he recognized in the array and explain what
       event that person was associated with). The photographs themselves
       each show men facing forward in the center, from the neck upwards,
       with differing amounts of contrast in each photo. (Gov’t
       Ex.178;Doc.129-16.)
          Perkins notes that his was the only picture of a person with gold
       teeth. But as the magistrate judge found, that fact alone did not make



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       the photo lineup unduly suggestive. (Doc.129-16–17.) A lineup is not
       unduly suggestive merely because the defendant’s photograph can be

       distinguished from the others. U.S. v. Smith, 148 F. App’x 867, 874–
       75 (11th Cir.2005) (citing Cikora, 840 F.2d at 896–97). The other
       people pictured need not look nearly identical to the defendant for

       the lineup to pass constitutional muster. Cikora, 840 F.2d at 896–98;
       Knight, 382 F. App’x 905, 907 (11th Cir.2010) (holding that photo
       lineup was not unduly suggestive where it depicted six African-

       American males of similar age and build, even those the defendant
       was of lighter complexion and the background lighting was slightly
       different). Here, the photos were of men with the same gender,

       appeared to be of the same race, appeared to be roughly the same age,
       had similar hair length, skin tone, and for the most part, similar facial
       shape. (Doc.129-17;Gov’t Ex.178.)
          Moreover, it is not apparent from the photographs that only one
       of the six men has gold teeth. (Gov’t Ex.178;Doc.129-17–18.) Delellis
       testified that in two of the pictures, the mouths looked shut, and so
       he could not tell which men had gold teeth. (Doc.83-126–27;Doc.238-
       350–352.) See e.g., Sanchez, 24 F.3d at 1261 (not unduly suggestive
       where defendant was the only person with eyes closed); U.S. v. Ricks,
       817 F.2d 692, 697 (11th Cir.1987) (holding, with reservations, that
       photo array in which defendant was the only person wearing



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       eyeglasses was not unduly suggestive); Jones v. Smith, 772 F.2d 668,
       671–72 (11th Cir.1985) (holding not unduly suggestive a lineup

       where defendant was the shortest person pictured, after eyewitness
       previously described defendant as short).1
          In contrast, cases in which this Court has found pre-trial

       identification procedures to be impermissively suggestive involved
       photo lineups far more suggestive than the one here. See Marsden v.
       Moore, 847 F.2d 1536, 1545 (11th Cir.1988) (showing photo lineup

       with defendant as the only male pictured); O’Brien v. Wainwright, 738
       F.2d 1139, 1140–41 (11th Cir.1984) (showing all black and white
       mugshots, except for one color photograph of the defendant); Jones v.

       Newsome, 846 F.2d 62, 63–64 (11th Cir.1988) (showing two photo
       arrays with the defendant’s photo in each, with the defendant’s photo
       being markedly different than the others).

              2. The district court did not clearly err in adopting the
                 magistrate judge’s finding that the identification was
                 sufficiently reliable.

       Even if the photo array were unduly suggestive, the district court and
       magistrate judge did not clearly err by finding that Delellis’s

          1
            On cross-examination, Delellis testified that he thought that he
       was shown a color photo array. (Doc.238-351.) But the original photo
       array was put in evidence, and it is black and white. (Id.(Prosecutor
       representing that the witness was shown the original, which is black
       and white);Gov’t Ex.178.)



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       identification of Perkins was nevertheless reliable. For an
       identification to be unconstitutionally unreliable, there must be a

       substantial risk of misidentification. U.S. v. Walls, 237 F. App’x 599,
       601 (11th Cir.2007) (citing Johnson v. Dugger, 817 F.2d 726, 729 (11th
       Cir.1987)). In determining reliability, the court considers: “the

       opportunity of the witness to view the [defendant] at the time of the
       crime, the witness’ degree of attention, the accuracy of the witness’
       prior description of the [defendant], the level of certainty

       demonstrated by the witness at the confrontation, and the time
       between the crime and the confrontation.” Manson, 432 U.S. at 114,
       97 S. Ct. at 2253; Neil v. Biggers, 409 U.S. 188, 93 S. Ct. 375 (1972).

          The court did not clearly err in finding that Delellis’s
       identification was reliable. Delellis had a good opportunity to observe
       Perkins. Perkins and a female companion stayed at the restaurant for
       “five minutes or so” and Delellis, along with his manager,
       “intercepted” them and had a “fairly [] brief conversation” about the
       bag. (Doc.83-114–116.) Delellis was only about four or five feet from
       Perkins, was looking directly at Perkins, and got a good look at
       Perkins’s face. (Doc.83-115.)
          Given the unusual circumstances surrounding the bag, Delellis
       paid attention to Perkins when he returned that evening. (Doc.83-
       109–113,129.) Also, while Delellis did not give law enforcement a



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       description of Perkins before reviewing the photo array, he provided a
       description to his manager, and others, which included that the

       person who returned looking for the bag had gold teeth. (Doc.83-
       117,124–125.) At the evidentiary hearing, Delellis had a concrete
       memory about Perkins’s features and characteristics in addition to the

       gold teeth, including that Perkins stood slightly shorter than Delellis
       and was “stocky.” (Doc.83-115–116.) Delellis identified Perkins only
       three weeks after he met Perkins, while his memory of Perkins “was

       pretty fresh in [his] mind.” (Doc.83-128.) He was able to identify
       Perkins in the array “fairly quickly,” and was “about 98 percent”
       confident in his selection. (Doc.83-118–120.) The five factors support

       judge’s findings that Delellis’s identification of Perkins was sufficiently
       reliable.

              3. Any error was harmless.

       Admission of the out-of-court identification was, at most, harmless.
       The bag Perkins left at Ruby Tuesdays contained credit cards in
       various names, and confidential Suntrust printouts which bank
       insiders testified they gave to Perkins. One insider testified that
       Perkins told her that he had lost the information she had given him

       in Tampa. When he returned looking for the bag, Perkins gave the
       name “Daniel Mathews” and answered to that name when a Tampa
       police officer called him about the bag. On arrest, Perkins had a fake



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       Georgia Driver’s license for “Daniel J. Mathews” in his pocket. Several
       other witnesses identified Perkins as Daniel Mathews and as the

       person who committed the charged frauds. Delellis’s identification of
       Perkins was harmless beyond a reasonable doubt.

          C. The district court did not plainly err by allowing Delellis to
             identify Perkins at trial based on his appearance at an earlier
             court hearing.

       At trial, the restaurant manager also testified, without objection, that
       he saw the person who returned to retrieve the bag at a “prior

       hearing,” that is, the suppression hearing. (Doc.238-348;Gov’t
       Ex.177.) On appeal, Perkins argues that this in-court identification
       was reversible error because Perkins was not present at trial, and

       because Delellis did not identify Perkins at the suppression hearing.
       (Def. Br. at 29–30.) Because Perkins did not object to this testimony
       at trial, review is for plain error. U.S. v. Jernigan, 341 F.3d 1273, 1280
       (11th Cir.2003).
          First, there was no error. Perkins’s argument that the in-court
       identification was the result of an unduly suggestive line-up merely
       repeats the argument above. Perkins complains that the restaurant
       manager did not identify him at the suppression hearing, but to the
       extent that establishes error, which it does not, Perkins invited it. At

       the start of the suppression hearing, and then again when Delellis was
       called, Perkins moved to be absent for witness testimony, arguing that



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       any identification during that hearing would be suggestive. (Doc.83-8–
       10,101–102.) The magistrate judge denied Perkins’s request to be

       removed. (Doc.83-10,102.) Given Perkins’s objection, the prosecutor
       avoided asking the witnesses to identify Perkins at the hearing; to the
       extent the lack of identification was potential error, Perkins invited it.

           In any case, Perkins cites no case law forbidding a later
       identification. On appeal, Perkins argues that, “There is no evidence
       that Mr. Delillis [sic] even saw the defendant [at the earlier hearing] or

       knew who he was.” (Def. Br. at 29–30.) To the contrary, the record
       shows that Perkins was present during the suppression hearing where
       Delellis testified, and Delellis’s testimony at trial confirms that he saw

       Perkins there. (Docs.83,238-348.) And as with the pretrial
       identification, the restaurant manager had a reliable basis to identify
       Perkins.
          Second, Perkins cites no statute or controlling case law establishing
       that the district court cannot admit identification testimony under
       these circumstances. In fact, Perkins’s argument does not cite any
       statute or case law at all. (Def. Br. at 29–30.) Perkins thus fails to carry
       his burden of showing the purported error was plain. U.S. v. Lejarde-
       Rada, 319 F.3d 1288, 1291 (11th Cir.2003) (“[W]here the explicit
       language of a statute or rule does not specifically resolve an issue,




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       there can be no plain error where there is no precedent from the
       Supreme Court or this Court directly resolving it.”).

          Third, for the same reasons the pre-trial identification was
       harmless, Perkins cannot establish the trial identification affected his
       substantial rights. Several other witnesses identified Perkins, including

       the undercover agent, the agent who arrested Perkins, and several co-
       conspirators. When arrested, Perkins had a fake driver’s license with
       the name “Daniel Mathews,” matching the name he gave in Tampa,

       and the bag contained evidence matching evidence on Perkins’s other
       electronic devices, and linking Perkins to each of the frauds. Delellis’s
       in-court identification was, at most, cumulative.

          Likewise, the ample other identification and other evidence in this
       case show that there is no reason to question the fairness, integrity, or
       reputation of the judicial system based on the restaurant manager’s
       identification of Perkins from the prior hearing. Perkins cannot
       establish that the district court plainly erred by allowing Delellis to
       identify him at trial.

          D. Because the jury never heard testimony regarding the other
             three out-of-court identifications, Perkins’s motion to
             suppress them is moot.

       Perkins argues that the district court erred by failing to re-open the

       evidentiary hearing as to certain search warrants, because the
       suggestiveness of the photo lineups called into question the probable



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       cause underlying those warrants. (Def. Br. at 25,29.) Perkins, however,
       waived this argument below. In any event, the lineups were not

       unduly suggestive, the identifications were reliable, and the search
       warrants were based on ample other probable cause.
          Perkins’s problem here, as it is with his argument with respect to

       the motion to suppress evidence, is that he did not object to the R&R
       in this regard. While he did argue to re-open the hearing as to the
       search warrants in his post-hearing brief (Doc.92-7–8), nowhere in his

       objections did Perkins object to the denial of his request. (Doc.134.)
       For this reason, he waived appellate review. Fed. R. Crim. P. 59.
          In any event, Perkins’s argument fails. For the reasons detailed by

       the magistrate judge, and adopted by the district court, the photo
       lineups were not improperly suggestive, and the identifications were
       sufficiently reliable. (Doc.129-14–23.) Moreover, Perkins did not
       establish standing to challenge the warrants, and, even though the
       magistrate judge had no reason to review the probable cause, ample
       other evidence supports issuance of the search warrants even setting
       aside the out-of-court identifications. (Doc.109-24–25&n.8.) For
       example, the affidavit supporting the search of the Tampa bag
       contains extensive information that it contained contraband or
       evidence of a crime, irrespective of whether the bag belonged to
       Perkins. (Doc.109-24–25;Ex.14(Aff.¶¶5–12,14–23).) Similarly, the



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       affidavit for Gables apartment 1212 contained extensive information
       that the apartment housed contraband or evidence of a crime,

       regardless of the identity of its occupant. (Id.;Aff.¶¶41–47,51–66.)
       The evidence would not have been suppressed, in any event, under
       the good-faith exception. U.S. v. Leon, 468 U.S. 897, 104 S. Ct 3405

       (1984). While on appeal Perkins cites to Franks v. Delaware, 438 U.S.
       154, 98 S. Ct. 2674 (1978) (Def. Br. at 29), he made no Franks claim
       below. (Doc.92(not citing Franks);Doc.109-24n.7 (noting that Perkins

       did not raise a Franks claim).)

       3. The district court did not abuse its discretion by not recusing.
          A. Perkins’s pro se motion to recuse fails to satisfy the statutory
             requirements.

       Perkins has accused the district judge of making certain inflammatory
       off-the-record remarks in lockup the morning of trial. (Def. Br. at
       31;Doc.283-4¶¶20–22.) The record, however, shows that the district
       judge never made such remarks. Perkins alleges the court made those
       statements in front of government counsel, defense counsel, a court
       reporter, and a U.S. Marshal. Yet none of those officers of the court
       suggest the district judge made any such inflammatory remarks. The
       only allegation comes from Perkins’s self-serving pro se pleading, 16
       months after trial. In his jail calls, while Perkins recounted for his
       family the court’s surprise visit, and proudly regaled them with his




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       gamesmanship, Perkins never mentioned the inflammatory comments
       he would later allege in the recusal motion. As the district court’s

       order makes clear, the court never made the remarks Perkins alleges.
       (Doc.313-52–53.)
          On appeal, for the first time Perkins argues that the district court

       was required under 28 U.S.C. § 144 to “proceed no further,” and that
       another judge had to be assigned based on the allegations in his pro se
       motion. Plaintiff notably fails to provide any legal authority for his

       theory that recusal is automatic once a party files a recusal affidavit
       under Section 144. The Supreme Court has ruled that the district
       judge has the lawful authority to pass on the legal sufficiency of the

       affidavit. Berger v. U.S., 255 U.S. 22, 30, 36, 41 S. Ct. 230, 232, 234
       (1921).
          In determining whether recusal is appropriate under Section 144,
       courts must determine whether three essential elements have been
       met: (1) whether the party has made and timely filed an affidavit; (2)
       whether the affidavit is accompanied by a good faith certificate of
       counsel; and (3) whether the affidavit is legally sufficient. Parrish v. Bd.
       of Comm'rs of the Ala. State Bar, 524 F.2d 98, 100 (5th Cir.1975) (en




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       banc);2 Turner v. City of Fort Lauderdale, No.05-61635-CIV, 2008 WL
       2553311, *2 (S.D. Fla. June 20, 2008). To be timely, the affidavit must

       be filed “not less than ten days before the beginning of the term at
       which the proceeding is to be heard, or good cause shall be shown for
       failure to file it within such time.” 28 U.S.C. § 144.

          Because disqualification of a district judge disrupts and delays the
       judicial process, recusal affidavits under Section 144 “are strictly
       scrutinized for form, timeliness, and sufficiency.” U.S. v. Womack, 454

       F.2d 1337, 1341 (5th Cir.1972). It is the judge’s duty to continue
       presiding over the case where the showing for recusal is insufficient.
       Eisler v. U.S., 170 F.2d 273, 278 (D.C. Cir.1948) (citation omitted).

       Courts should consider the “more technical” requirements of Section
       144, including timeliness, before moving to the sufficiency of the bias
       allegations. U.S. v. Cerrella, 529 F. Supp. 1373, 1377–78 (S.D. Fla.
       1982).
          Perkins’s motion fails to meet the requirements of Section 144. As
       an initial matter, Perkins was represented by counsel, so his pro se
       motion was improperly filed. Indeed, the district court previously




          2
            The Eleventh Circuit has adopted as precedent the decisions of
       the former Fifth Circuit rendered prior to October 1, 1981. Bonner v.
       City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir.1981) (en banc).



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       ordered Perkins to stop filing pro se motions while represented.
       (Doc.130-1–2.)

          Perkins did not timely file his motion for recusal. Perkins
       submitted his recusal motion 16 months after trial when the district
       judge allegedly made the statements on which the motion is based.

       Perkins does not even attempt to excuse the untimeliness of his
       motion, nor explain why, if such inflammatory statements were
       uttered by the judge in his presence, he waited through trial, and

       another 16 months, to request recusal.
          Nor was Perkins’s affidavit accompanied by the required good faith
       certificate of counsel. Perkins acknowledges this failure in a footnote,

       but tries to excuse its absence by arguing that he should have been
       considered to be representing himself for purposes of the recusal
       motion. (Def. Br. at 31n.6.) But Perkins never invoked his right to
       self-representation. Perkins provides no authority excusing the good
       faith certificate, nor explaining why he should be considered as
       representing himself when convenient for him, but not otherwise.
       The requirement of a good faith certificate of counsel is particularly
       important in a case such as this one. Perkins’s jail calls show his
       attempts to use the Federal Rules to manipulate the court system and
       prevent trial. Given Perkins’s attempts to obstruct, his pro se affidavit
       can hardly be taken at face value.



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          B. Because Perkins fails to show any external bias, the district
             court did not abuse its discretion by failing to recuse.

       In the alternative, Perkins argues for the first time on appeal that the

       district court should have sua sponte recused itself under 28 U.S.C.
       § 455(a). Where a defendant fails to seek recusal, review is only for
       plain error. Berger, 375 F.3d at 1227. Besides his self-serving

       accusations in his motion to recuse below, Perkins points to eight
       statements the district court made around the time of trial, describing
       her evaluation of the evidence, and demonstrating the judge’s reaction

       to Perkins’s obstreperous behavior. (Def. Br. at 33–34.) The district
       court did not abuse its discretion, nor plainly err, by not sua sponte
       recusing itself based on these remarks.

          Based on the Supreme Court’s extrajudicial-source doctrine, the
       district court did not plainly err by not recusing itself. “[O]pinions
       formed by the judge on the basis of facts introduced or events
       occurring in the course of the current proceedings, or of prior
       proceedings, do not constitute a basis for a bias or partiality motion
       unless they display a deep-seated favoritism or antagonism that would
       make fair judgment impossible.” Liteky v. U.S., 510 U.S. 540, 555, 114
       S. Ct. 1147, 1157 (1994). The opinions expressed by the district judge
       about the evidence and Perkins’s obstreperousness were based on the

       judicial proceedings. Accordingly, the underlying rationale for the
       extrajudicial-source doctrine — that proper performance of the judicial



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       function often, and necessarily, leads the judge to form opinions
       about the proceedings — would apply with full force. See id., 510 U.S.

       at 550–552, 114 S. Ct. at 1555 (explaining that even though a judge
       “may, upon completion of the evidence, be exceedingly ill-disposed
       towards the defendant, who has been shown to be a thoroughly

       reprehensible person,” the “judge is not thereby recusable for bias or
       prejudice, since his knowledge and the opinion it produced were
       properly and necessarily acquired in the course of the proceedings,

       and are indeed sometimes (as in a bench trial) necessary to completion
       of the judge’s task”). Perkins fails to point to any external source,
       outside of the facts and events of this case, supporting recusal.

       Accordingly, the district court did not plainly err by not sua sponte
       recusing.

       4. The district court did not plainly err in concluding that trial
          commenced in lockup, nor in finding that Perkins constructively
          waived his right to appear, and that he invited any error.

       Federal Rule of Criminal Procedure 43 requires a defendant’s
       presence at every trial stage, but allows a “defendant who was initially
       present at trial” to waive the right to be present. Fed. R. Crim. P.
       43(c)(1). Once trial has begun, a defendant’s voluntary absence waives
       his right to be present. Id.; Crosby v. U.S., 506 U.S. 255, 261–62, 113

       S. Ct. 748, 752–53 (1993). Here, Perkins, in a pre-meditated plan,
       refused to leave Marshal’s lockup the morning of trial. When the



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       court visited him there and advised him of his right to be present in
       the courtroom, Perkins became disruptive and refused to respond to

       the court or leave lockup. Trial proceeded, with Perkins watching a
       live audio-video feed. The court provided Perkins with a pen and
       paper, encouraged defense counsel to visit Perkins during breaks, and

       told Perkins that he could appear in court whenever he wished. After
       the jury convicted, Perkins moved for a new trial, arguing that his
       absence violated Rule 43. The district court denied the motion,

       reasoning that trial began during the hearing in lockup, that Perkins
       constructively waived his right to be present, and that he invited any
       error.

          The district court’s interpretation of Rule 43 is reviewed de novo.
       U.S. v. Sterling, 738 F.3d 228, 234 (11th Cir.2013). The district court’s
       factual finding that the defendant voluntary waived his presence at
       trial must be affirmed unless clearly erroneous. Id. This Court then
       “consider[s] whether the district court abused its discretion in
       concluding that there was on balance a controlling public interest to
       continue the trial in the defendant’s absence.” Id. (citing U.S. v.
       Bradford, 237 F.3d 1306, 1311 (11th Cir.2001). Even if the district
       court erred in the timing of defendant’s waiver, the error may be
       harmless. Id. Where the defendant does not timely object, a district
       judge’s decision to continue trial in his absence must be affirmed



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       unless it is plain error. U.S. v. Martinez, 604 F.2d 361, 365 (5th
       Cir.1979).

          This Court must affirm based on this Court’s controlling opinion
       in U.S. v. Sterling, 738 F.3d 228 (11th Cir.2013), a case that Perkins
       failed to cite. Sterling, a sovereign-citizen defendant, participated in

       pre-trial proceedings but on the morning of trial refused to leave
       Marshal’s lockup. 738 F.3d at 233&n.1. He consented to a visit by the
       judge, but once the court was present Sterling refused to answer the

       court’s questions, and repeated, “I do not understand what’s going
       on. I do not accept no offers of the court.” Id. at 233. The trial judge
       tried to advise him of his rights and told him that his absence would

       be deemed a waiver of his right to be present at trial. Id. Back at court,
       the trial judge found that Sterling waived his presence, which his
       attorney conceded. Id. The judge ensured Sterling could view the
       proceedings through a live video feed, and permitted his counsel to
       meet with him during breaks. Id.
          On appeal, Sterling argued that the trial court violated Rule 43. Id.
       at 232. Sterling argued that trial began at jury selection, and so he was
       not present for its beginning, in violation of the rule. Id. at 236. This
       Court rejected Sterling’s argument, the same argument which Perkins
       makes here. Id. In Sterling, this court held that “trial commences no
       later than on the day of jury selection, without respect to whether the



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       defendant is present at the time prospective jurors enter the
       courtroom.” Id. at 236. This Court also rejected Sterling’s argument

       that “the district court was required to use a talismanic phrase that the
       trial was beginning.” Id. Instead, “trial had commenced on the day of
       jury selection when court was held in the interview room, Sterling was

       informed of his rights, and the trial proceedings were explained.” Id.
       “At that time,” this Court held, “Sterling was permitted under Rule
       43 to waive his right to be present.” Id.

          This Court went on to hold that Sterling’s non-responsiveness
       acted as an effective waiver: “Sterling refused to respond to the court,
       and therefore the district court properly found that Sterling

       constructively waived his right to be present at trial.” Id. at 236–37.
       The district court, in Sterling, appropriately balanced the public’s
       interest with Sterling’s right to be present, considering Sterling’s
       disruptive behavior and the inconvenience to the jury and witnesses
       that would result from delay. Id. at 237. This Court concluded that
       given that Sterling’s “absence was a result of [defendant’s] own
       decision not to attend rather than the result of external circumstances
       … there was no reason to believe that the trial could have soon taken
       place with [the defendant] present.” Id. at 237 (quoting Bradford, 237
       F.3d at 1314). Thus, the district court permissibly concluded that “the
       public interest in proceeding with trial outweighed any interest in



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       delay,” and the district court permissibly chose to continue trial
       without Sterling. Id. at 237.

          So, too, here. Like Sterling, Perkins attended pretrial hearings,
       even though Perkins was regularly disruptive. For example, at the
       evidentiary hearing on Perkins’s motions to suppress, Perkins tried to

       interrupt the proceedings with sovereign-citizen pronouncements, and
       tried to delay them by requesting bathroom breaks every hour.
       (Doc.83-129–132;Doc.313-5–6.) At the pretrial conference held the

       Friday before trial, Perkins was even more disruptive, so much so that
       the district court met separately with counsel to discuss how to
       proceed if it needed to remove Perkins from the courtroom during

       trial. (Doc.313-7–11.)
          Then, the morning of trial Perkins refused to appear, and
       threatened the deputies if they tried to bring him to court. So the
       district judge brought trial to Perkins. Despite the court’s efforts to
       advise Perkins of his rights, Perkins was non-responsive, repeating, “I
       do not understand. I do not agree.” Jail recordings show that this was
       all a tactic, and part of Perkins’s strategy to avoid trial. Back in the
       courtroom, the district judge repeated the advice of rights, so that
       Perkins could hear them over the live feed. She told him that he was
       welcome to trial at any time, and instructed the Marshals to alert her
       if Perkins raised his hand and wished to attend. The district judge



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       provided Perkins with a pen and paper so that he could take notes
       and participate. She told him that she would ask his counsel to visit

       him to consult, and encouraged counsel to do so during breaks. All
       told, the measures here exceeded those in Sterling.
          After the verdict, Perkins moved for a new trial making the same

       arguments as Sterling. The district court did not abuse its discretion,
       much less plainly err, by denying that motion. This Court’s holding in
       Sterling confirms that, as the district court concluded, trial commenced

       the day of jury selection, by the time the district court met Perkins in
       his cell. This Court’s holding in Sterling also confirms the district
       court’s ruling that Perkins’s obstructive behavior and non-

       responsiveness waived his right to appear at trial. As in Sterling, the
       public interest favored proceeding with trial, as Perkins showed no
       indication that he would appear, and the jury and witnesses were
       already assembled. On appeal, for the first time Perkins argues that
       the district court made no finding as to the public interest. But during
       trial the prosecutor specifically argued that the public interest favored
       proceeding, noting the 20–25 witnesses, some flown in from out of
       state. (Doc.237-66–67.) The district court agreed. (Doc.237-68–69,71.)
       Perkins notes on appeal that the district court did not call the case
       when in lockup, nor explicitly state that the trial was beginning there.
       (Def. Br. at 36.) But Sterling confirms that there are no talismanic



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       words the district court must utter to commence trial. 738 F.3d at
       286. As this Court made clear in Sterling, what is important is that the

       defendant was present the day of trial, that the court explained his
       rights to him, and that the he constructively waived them such that
       the public interest favored proceeding.

          On appeal, Perkins takes issue with the district court’s finding that
       Perkins invited the error, and that Perkins and his counsel did not
       object to the procedure followed in the district court. (Def. Br. at 46.)

       According to Perkins, both he and his attorney objected to the trial
       being held in his absence. Id. Not so. Defense counsel never raised an
       objection to Perkins’s absence, and did not contemporaneously object

       to the procedures followed by the court. The next day, after jury
       selection, defense counsel relayed that Perkins “would prefer [the
       district court] stop the trial.” (Doc.236-59.) No doubt true. In fact, as
       the jail recordings confirm, stopping trial was the whole point of
       Perkins’s subterfuge. Nevertheless, there was no Rule 43 objection at
       trial, and the district court did not clearly err, much less plainly err, in
       finding that by refusing to leave lockup, Perkins constructively waived
       his appearance and invited any potential error.
          Next, Perkins complains that he was tricked into appearing in the
       meeting room at lockup where the district judge appeared. While this
       differs from Sterling, who consented to meeting the judge at lockup, it



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       is a distinction without a difference. This Court based its holding in
       Sterling on Sterling’s presence in lockup the day of trial, the district

       court’s advising him there of his rights, and Sterling’s non-
       responsiveness effecting a constructive waiver. The same holds true
       here. Nothing in Sterling was based on Sterling’s consenting to seeing

       the judge in lockup, nor on the attorney’s concession that Sterling was
       waiving his right to attend trial. In fact, here, during trial, defense
       counsel conceded: “I don’t think having him forced to court and

       having extra security, I think that’s going to prejudice him more than
       not being here.” (Doc.238-291.)
          Finally, the timing of the waiver, even if erroneous, which it was

       not, was harmless. Perkins concedes that any Rule 43 error would be
       governed by harmless error analysis. (Def. Br. at 34.) He argues that
       his counsel was not prepared to represent his interests at trial and that
       his presence at trial would have been helpful; therefore, he claims, the
       purported Rule 43 error was not harmless. (Def. Br. at 40.) But the
       reason counsel claimed to be unprepared was that Perkins refused to
       discuss the case with him. (Doc.237-67.) And whether Perkins could
       have been helpful had he chosen to attend trial misses the point.
       Perkins had every opportunity to assist and to attend trial, but
       refused. Regardless of the procedure the district court followed, there
       is no reason to believe Perkins would have changed course,



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       particularly since this was part of a calculated strategy. Regardless of
       any technical violation of Rule 43, nothing would have changed. Any

       purported Rule 43 error was harmless.

       5. Perkins invited any denial of his right to public trial, and in any
          case the district court did not plainly err by commencing trial in
          lockup when Perkins refused to appear.

       Perkins argues that the hearing at lockup violated his right to public
       trial. But because it was Perkins who refused to appear publicly, he
       invited any purported error, and his claim fails. Brannan, 562 F.3d at

       1306.
          If the invited error doctrine does not apply, plain error review
       does. See U.S. v. Bucci, 525 F.3d 116, 129 (1st Cir.2008) (reviewing for

       plain error the denial of public trial, where defendant failed to object
       at trial). Neither Perkins nor his counsel objected to a denial of public
       trial. When Perkins surprised everyone by refusing to appear the
       morning of trial, the district court discussed with counsel how to
       proceed. (Doc.236-2–48.) At no time did counsel suggest that meeting
       with Perkins in lockup violated a right to public trial. Nor did Perkins
       voice this objection. Later, Perkins’s counsel filed a motion for new
       trial, but in that motion did not argue that Perkins was deprived a
       public trial. (Doc.190.) During the sentencing hearing counsel sought

       to add this ground to the new trial motion, but counsel never
       developed the argument. (Doc.326-62–63.) Regardless of whether he



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       properly raised it in his new trial motion, Perkins did not
       contemporaneously object to a denial of public trial, so review is only

       for plain error. U.S. v. Rodriguez, 627 F.3d 1372, 1379 (11th Cir.2010).
          The district court did not err, much less plainly err, by bringing
       trial to Perkins when Perkins refused to leave Marshal’s lockup. The

       district court did not close the proceedings. To the contrary, as the
       district court noted when counsel raised the issue during sentencing,
       “We would have let anybody come that could have fit in the room.

       You know, we weren’t keeping them out.” (Doc.326-63.) And while
       the district court sought to limit the attorneys and court personnel in
       lockup — stating that it wanted “as few people as possible” at the

       meeting room, it did so for legitimate logistical and safety reasons.
       (Def. Br at 52.) Moreover, to the extent attendance was limited by
       holding the hearing at lockup, that was due to Perkins’s calculated
       refusal to appear publicly. By refusing to leave lockup in an effort to
       avoid the commencement of trial, Perkins constructively waived his
       right to public trial. U.S. v. Hitt, 473 F.3d 146, 155 (5th Cir.2006)
       (“Where a defendant, with knowledge of the closure of the
       courtroom, fails to object, that defendant waives his right to public
       trial”). Courts also have the authority to limit public access if a greater
       interest is served. Judd v. Haley, 250 F.3d 1308, 1314 (11th Cir.2001).




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          Moreover, any error would not be plain. Perkins cites no statute or
       controlling authority holding that the district court cannot commence

       trial in lockup when the defendant refuses to leave. Lejarde-Rada, 319
       F.3d at 1291. In fact, this Court’s holding in Sterling expressly permits
       the procedure followed by the district court here. 738 F.3d at 234–37.

       Far from being plain error, the procedure followed by the district
       court is blessed by controlling authority.
          Perkins chose not to appear publicly for trial. He cannot now

       complain that the district court held a hearing without him where it
       was his decision not to appear. Perkins invited any error, and the
       district court did not plainly err in any case. To hold otherwise would

       be to encourage defendants to refuse to appear publicly for trial. This
       cannot be the law.

       6. The evidence was sufficient to support conviction.

       Perkins argues that the evidence was insufficient to convict because no
       one identified him as the perpetrator at trial. He also argues that his
       aggravated identity theft conviction should be overturned because the
       evidence was not sufficient to establish that: (1) 1212 Gables was his
       apartment; and (2) he knew Lisa Evans was an actual person. Each

       argument fails.




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          A. Sufficient evidence proved identity.

       For the first time Perkins claims that insufficient evidence proved his

       identity. Review is therefore limited to manifest miscarriage of justice.
       U.S. v. Houser, — F.3d —, 2014 WL 2767200, at *11 (11th Cir.2014).
          Ample evidence proved that Perkins was the person who

       committed the charged offenses. To begin, during jury selection, the
       prospective jurors were shown a picture of Perkins to see if anyone
       knew him. (Doc.237-7-8.) Then, the court asked the parties how, given

       that Perkins refused to come to court, they wanted to address the
       question of whether the defendant on trial was the person that the
       witnesses would refer to in their testimony. (Doc.237-126-130.)

       Defense counsel suggested that the witnesses be shown the same
       picture that the prospective jury was shown during voir dire. (Id.) The
       picture was shown to each witness as follows:


              the FBI agent who had numerous undercover conversations
               with Perkins, identified the person in the picture as the
               person who he met at the Atlanta Ruby Tuesdays and who
               passed him a dozen fraudulent cards immediately prior to
               arrest. (Doc.237-197-98;Gov’t Ex.177.);

              the FBI agent who arrested Perkins identified the person in
               the picture as the same individual he arrested and the same
               person that he had seen in another court proceeding in this
               case. (Doc.238-319-20;Gov’t Ex.177.);




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               the Suntrust insiders identified the person in the
                photograph as the same person who they gave insider
                information to. (Doc.238-412,447;Gov’t Ex.177.);

               co-defendant Sorden identified the person in the picture as
                the person with whom he conducted fraud. (Doc.238-
                593;Gov’t Ex.177.);
          
               Delellis identified the person in the picture as the person
                who returned to his restaurant in Tampa looking for the bag
                he left. (Doc.238-348;Gov’t Ex.177.) Delellis also identified
                the person in the picture as the same person he saw at a
                prior court hearing in this case. (Id.); and

               the picture that all of these witnesses identified matched the
                picture on two driver’s licenses that Perkins possessed when
                he was arrested, one of which was in his own name and the
                other was in the name of Daniel J. Mathews. (Gov’t
                Ex.177,14,15;Doc.237-226-27.)


       And notably, during the jury charge conference, defense counsel
       indicated that identification would not be an issue. (Doc.281-745)
       (“You don’t have to worry about me arguing anything about [Perkins]
       not being here or any identification issues in that regard.”) Finally,
       when a deputy raised the possibility of bringing Perkins to court,
       defense counsel rejected that proposal, noting that to do so would

       “prejudice” Perkins. (Doc.238-291.) Any error in this regard, then, was
       invited. Far from a miscarriage of justice, the identification evidence
       amply supported conviction.




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          B. Sufficient evidence supports the inference that the Gables
             apartment was Perkins’s.

       During his Rule 29 motion, Perkins’s counsel argued that multiple

       people had access to 1212 Gables. (Doc.239-730.) But counsel never
       argued that insufficient evidence supported the conclusion that 1212
       Gables was Perkins’s apartment. (Id.) Accordingly, this argument on

       appeal is reviewed only for a miscarriage of justice.
          The evidence established that 1212 Gables was Perkins’s
       apartment. First, co-defendant Sorden testified that 1212 Gables was

       Perkins’s apartment, and that Perkins stayed there with his girlfriend.
       That testimony was corroborated in several ways. Despite being rented
       in a woman’s name, the apartment’s one bedroom contained only

       men’s clothing. Inside the apartment was Perkins’s Louisiana birth
       certificate. Other than a blank birth certificate, Perkins’s was the only
       birth certificate in the apartment.
          In addition, the apartment contained items Perkins described to
       the undercover agent. For example, Perkins told the agent that he had
       a MSR206 card writer; the apartment contained a MSR206 connected
       to a computer using a serial-to-USB connector just as Perkins
       described. When agents searched the apartment promptly on
       Perkins’s arrest, that computer had a USB thumb drive connected

       which contained credit card account information corresponding to
       the fraudulent credit cards Perkins handed to the undercover agent.



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       Perkins also told the agent that he used fraudulent credit cards to
       purchase certain photo equipment. Perkins had receipts for that

       equipment on him when he was arrested. And neatly stacked in the
       closets was that same photo equipment, with boxes containing serial
       numbers matching the receipts in Perkins’s pockets. Perkins told the

       undercover agent that he had a source in Ukraine for fraudulent
       credit card information. After Perkins’s arrest, FBI agents found
       receipts for wire transfers to the Ukraine both in Perkins’s car and in

       the apartment.
          Next, Perkins told a confidential informant that he kept cash in a
       shoebox. When searching 1212 Gables, agents found $2,700 in a

       shoe. (Doc.239-661.) They also found an ASCAP application in
       Perkins’s name, a lease to his previous apartment, a Sam’s Club card
       with his photo, and a photo album with pictures of Perkins.
          Finally, Perkins had a two driver’s licenses in different names and
       20 fraudulent credit cards on him when arrested. The apartment
       contained not only the MSR206 card writer, but devices which could
       be used to create false state identifications. Thus, far from a
       miscarriage of justice, the evidence supported the inference that 1212
       Gables was indeed Perkins’s apartment.




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          C. Sufficient evidence supports the inference that Perkins knew
             the identity of an actual person was used to rent 1212 Gables.

       Perkins argues that there was insufficient evidence to show that

       Perkins knew Lisa Evans was a real person. Perkins’s argument fails.
          The government may rely on circumstantial evidence to show that
       an aggravated identity theft defendant knew that the victim was an

       actual person. U.S. v. Gomez-Castro, 605 F.3d 1245, 1249 (11th
       Cir.2010). Here, direct evidence showed that Lisa Evans’s identity was
       stolen and fraudulently used to rent the 1212 Gables apartment

       where Perkins conducted his frauds, kept evidence of his frauds, and
       stored the fruits of it. Lisa Evans testified that she never sought to rent
       an Atlanta apartment, and while her name, date of birth, and social

       security were accurately placed on the rental application, the driver’s
       license that was used as part of that application has a picture of a
       different person. The fake driver’s license purports to be from Ohio.
       Inside Perkins’s apartment was equipment that could be used to
       manufacture fake state identifications, as well as a fake Ohio driver’s
       license with Perkins’s picture, and a number of other fake Ohio
       driver’s licenses, supporting the inference that Perkins manufactured
       the fake Lisa Evans driver’s license.
          Agents recovered mail in the apartment from the Gables

       apartment complex addressed to Lisa Evans at that address, as well as
       correspondence relating to renter’s insurance. Surely Perkins, the



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       occupant of the apartment, was aware the apartment was rented in the
       name of Evans, for whom he manufactured a fake driver’s license.

       Perkins also had to know Evans was an actual person with an actual
       social security number. In order to rent the apartment, the fake Lisa
       Evans had to provide not only a name, but a corresponding date of

       birth and social security number, both of which actually belonged to
       Evans. (Gov’t Ex.115-1–8,75.) As is typical, the apartment complex
       ran credit and background checks verifying this information before

       renting the apartment. (Gov’t Ex.115-6–18.)
          In U.S. v. Holmes, this Court concluded that a reasonable juror
       could have found beyond a reasonable doubt that the social security

       number belonged to a real person when the defendant used the
       numbers to obtain a passport, a driver’s license, and a line of credit.
       595 F.3d 1255, 1258 (11th Cir.2010.) So, too, here. Perkins’s use of
       Evans’s correct date of birth and social security number on the
       apartment application and on the fake state driver’s license he
       manufactured support the inference that Perkins knew Evans was an
       actual person, so that the apartment application would be approved.




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       7. The district court did not clearly err by applying an
          enhancement for obstruction of justice, did not err by imposing
          sentence for aggravated identity theft, nor did it abuse its
          discretion by imposing a below-Guidelines 360-month sentence.

       Perkins argues that he should not have received a Guidelines

       enhancement for obstruction of justice, nor the two-year consecutive
       sentence for aggravated identity theft. He also argues that his 360-
       month sentence was substantively unreasonable. Perkins’s claims fail.

          A. The district court did not clearly err in finding that Perkins’s
             manipulative efforts to sabotage trial were an attempt to
             obstruct justice, and any error was harmless.

       Section 3C1.1 of the Guidelines provides for a two-level

       enhancement:

          If (1) the defendant willfully obstructed or impeded, or
          attempted to obstruct or impede, the administration of justice
          with respect to the investigation, prosecution, or sentencing of
          the instant offense of conviction, and (2) the obstructive
          conduct related to (A) the defendant’s offense of conviction
          and any relevant conduct; or (B) a closely related offense.


       USSG § 3C1.1. The enhancement applies where a defendant
       “willfully fail[s] to appear, as ordered, for a judicial proceeding.”

       Id.,cmt.n.4(E).
          Perkins’s behavior falls squarely under this plain language. Perkins
       refused to appear at trial and at sentencing. And jail recordings show




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       that Perkins willfully failed to appear so as to manipulate the court
       proceedings in an effort to avoid trial.

          Nor was his willful absence Perkins’s only attempt to obstruct.
       Perkins caused counsel to file several motions to withdraw. Perkins
       himself made numerous pro se filings, even after being ordered to

       desist, seeking to discharge counsel. Yet during hearings, Perkins
       refused to respond to the court’s questions regarding his
       representation. Perkins refused to cooperate with appointed counsel,

       refused to waive counsel, and if he was able, did not retain counsel.
          Perkins claims that he was merely exercising his constitutional
       rights. But there is no constitutional right to sabotage trial. Nor is

       there any merit to Perkins’s claim that he merely sought to exercise his
       right to retain counsel of his choosing. Jail recordings confirm that
       Perkins interest was in stymying the justice system, not in exercising
       any bona fide constitutional right.
          Finally, any error was harmless. The district court made clear that
       it would impose the same 360-month total sentence regardless of the
       Guidelines calculations. Because that sentence was substantively
       reasonable, any procedural error was harmless. U.S. v. Keene, 470 F.3d
       1347, 1348–49 (11th Cir.2006) (harmless error if district court would
       have imposed the same sentence and that sentence is substantively
       reasonable).



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          B. The district court did not err by imposing punishment for
             aggravated identity theft.

       For the same reasons Perkins raises in arguing the sufficiency of the

       evidence, Perkins claims that he should not have been sentenced to
       the two-year consecutive term for aggravated identity theft. Because, as
       discussed above, the evidence was sufficient to support Perkins’s

       aggravated identity theft conviction, his argument fails.

          C. The district court did not abuse its discretion by imposing a
             360-month sentence, considering the complexity of Perkins’s
             numerous frauds, his manipulation of the justice system, and
             his profoundly manifest recidivism.

       The district court did not abuse its discretion by imposing a 360-
       month total sentence. As an initial matter, the district court imposed
       a sentence well-below the 1,012-year statutory maximum sentence,

       indicating that the 360-month sentence is reasonable. (PSR-45); U.S. v.
       Valnor, 451 F.3d 744, 751–52 (11th Cir.2006). Next, the district judge
       calculated the Guidelines giving substantial benefits to Perkins. For
       example, the district court did not use the $500-per-credit-card loss
       amount required by the Guidelines, nor did she assess a two-level
       enhancement for Perkins’s possession of device making equipment,

       even though counsel did not object to the latter. (Doc.326-29–45.)
       Had the district judge applied the Guidelines literally, Perkins would
       have faced a range of Life plus 24 months. (PSR-45;Doc.326-44.)
       Instead, the district court downgraded the intended loss amounts


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       from the Suntrust fraud, discounting the loss intended to the Georgia
       Tech Foundation and other potential victims. (Doc.326-40–43.)

       Overall, the district court charitably calculated Perkins’s Guideline
       range as 360-months-to-life, plus 24 months for aggravated identity
       theft. The district judge then concurred with the government’s

       recommendation to vary still downward, to a total sentence of 360
       months. Although there is no legal presumption, this Court
       “ordinarily … expect[s] a sentence within the Guideline range to be

       reasonable.” U.S. v. Talley, 431 F.3d 784 (11th Cir.2005). Because the
       district court downwardly varied, this Court can expect that the
       sentence was not unreasonably high.

          The Section 3553(a) factors support the sentence. As the district
       judge observed, Perkins’s crimes were some of the most extensive she
       had seen. (Doc.326-59.) Perkins sought millions of dollars at a time
       from innocent businesses, and manipulated insiders at banks to give
       him confidential information. On arrest, he possessed over 100,000
       stolen credit card numbers, and the record shows that he used these
       numbers to purchase luxury goods for himself, such as a Cadillac
       Escalade and professional digital camera equipment, as well as to
       barter for inside bank information from the undercover agent.
       Perkins’s crimes were substantial.




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          Perkins was also amongst the most unrepentant defendants
       prosecuted in this district. (Doc.326-59.) Perkins took the resistant

       sovereign-citizen strategy to new levels, planning with his family how
       to manipulate the court system to avoid punishment. Despite
       overwhelming evidence against him, Perkins showed no remorse. His

       reaction included threatening liens against his own court-appointed
       attorney.
          Perkins’s criminal history is deplorable. He was arrested 19 times

       between the ages of 7 and 14. His adult record includes possession of
       crack and another federal fraud conviction, in total earning him a
       criminal history category of IV.

          Perkins argues that he had a troubled youth, and has a history of
       mental health issues. Regarding his recalcitrance, Perkins argues that
       he merely sought to exercise his constitutional right to receive proper
       representation. As discussed above, the last point is bogus. Perkins
       never hired counsel, and refused to address the court when asked
       about representation. There is no constitutional right to avoid trial.
          Perkins made each of these three arguments at sentencing. In
       essence, he wishes the Section 3553(a) factors be re-weighed more in
       his favor. But “[t]he weight to be accorded any given § 3553(a) factor
       is a matter committed to the sound discretion of the district court,”
       and this Court will not remand for resentencing unless it is “left with



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       the definite and firm conviction that the district court committed a
       clear error of judgment in weighing the § 3553(a) factors.” U.S. v.

       Clay, 483 F.3d 739, 743 (11th Cir.2007) (quotation marks and
       citation omitted). Perkins has not carried his burden of showing such
       a clear error in judgment in this case.

       8. No competency hearing was warranted.
          A. The district court did not abuse its discretion by failing to
             order a competency hearing sua sponte.

       Perkins argues that his procedural due process rights were violated by
       the district court not sua sponte ordering a competency hearing. “A
       district court is required to order a hearing sua sponte if it has

       reasonable cause to believe that a criminal defendant is mentally
       incompetent.” U.S. v. Lindsey, 339 F. App’x 956, 957–58 (11th
       Cir.2009); 18 U.S.C. § 4241(a). See also 18 U.S.C. § 4244(a). The
       district court did not abuse its discretion by failing to order Perkins
       undergo a competency hearing.
          Perkins claims there was reasonable cause for the district court to
       order a competency hearing based on Perkins’s relationship with his
       appointed counsels, his rantings during court hearings, and his refusal
       to appear for trial. (Def. Br. at 52–53,56.) The district court, however,
       noted that Perkins’s behavior was consistent with the calculated
       sovereign-citizen strategy it had seen in other cases. (Doc.237-74.)




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       While the district court noted that Perkins’s behavior may seem
       irrational or crazy to a lay person, the district court had no concerns

       about his competency, recognizing that Perkins was strategically trying
       to manipulate the court system. (Id.) The district court did not abuse
       its discretion in this regard. Indeed, the jail calls confirm that Perkins

       was lucid, intelligent, and rational, and that his behavior was
       calculated to disrupt the proceedings. There was no abuse of
       discretion. To hold otherwise would be to require a competency

       hearing for every defendant who employs sovereign-citizen tactics,
       resulting in unwarranted delay.

          B. The district court did not clearly err in finding that Perkins
             was competent, thus denying Perkins’s tardy request for a
             competency hearing.

       This Court ordinarily reviews a district court’s determination that a
       defendant is competent to stand trial for clear error. Ferguson v. Sec’y
       for Dep’t of Corrections, 580 F.3d 1183, 1221 (11th Cir.2009). Given
       that Perkins refused to meet with his attorney and did not receive the
       PSR prior to sentencing, the district court delayed finalizing its
       sentence and entering its judgment and commitment order to allow
       time for Perkins, if he so chose, to review the PSR, file objections, and
       otherwise better participate in sentencing. (Doc.326-5–6,62,68.)

       Perkins never did. But after the sentencing hearing and before the
       judgment and commitment was filed, Perkins’s counsel filed a motion



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       for competency hearing. (Doc.307.) According to counsel, another
       client at the jail told him that Perkins “seemed crazy,” and one of

       Perkins’s childhood friends raised concerns about Perkins’s
       competency. (Doc.307-1–2.) The childhood friend noted that Perkins
       had been prescribed certain serious mental health medicines.

       (Doc.307-2.) Finally, a prior PSR noted that Perkins had previously
       been diagnosed with schizoaffective disorder. (Doc.307-3;PSR-40.)
          The district court did not clearly err in finding that Perkins was

       competent to stand trial, nor did it err by denying the tardy motion.
       Section 4244(a) requires the defense to file a motion for competency
       hearing “within ten days after the defendant is found guilty.” 18

       U.S.C. § 4244(a). Here, the defense’s motion was filed years after
       trial. Also, as counsel acknowledged, the defense’s motion was based
       on rank hearsay. (Doc.307-3n.5.) The district court saw that, contrary
       to being irrational or incompetent, Perkins was employing a
       manipulative obstructionist tactic at trial. And the jail calls confirmed
       that Perkins was not incompetent, but was intelligent, rational, and
       articulate. Perkins carried out a series of complex frauds, further
       supporting the district court’s factual finding that Perkins was
       competent to stand trial. See U.S. v. Ramirez, 491 F. App’x 65, 71 (11th
       Cir.2012) (affirming the district court’s failure to conduct a
       competency hearing where the defendant asserted sovereign-citizen



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       tactics, and noting that “the assertion of a ludicrous legal argument by
       a defendant does not evince mental incompetence sufficient to

       preclude the government from prosecuting”); U.S. v. Jonassen, __ F.3d
       __, 2014 WL 3455308, at *6 (7th Cir. July 16, 2014) (affirming the
       district court’s refusal to hold a competency hearing where the

       defendant asserted a sovereign-citizen defense); U.S. v. Brown, 669
       F.3d 10, 18 (1st Cir.2012) (same). Finally, previous medication with
       anti-psychotic drugs does not render a defendant incompetent per se.

       Medina v. Singletary, 59 F.3d 1095, 1107 (11th Cir.1995).
          Finally, Perkins claims that he was incompetent during trial, and
       thus was deprived his right to substantive due process. (Def. Br. at 57-

       58.) Perkins concedes that he would only be entitled to a competency
       hearing had he presented “clear and convincing evidence [raising] a
       substantial doubt” as to his competency to stand trial. (Def. Br. at 57,
       quoting and citing James v. Singletary, 957 F.2d 1562, 1572 (11th
       Cir.1992.)) There is no such evidence here.
          As the district court found, Perkins’s tactics were merely a more
       aggressive version of the sovereign-citizen strategy certain prisoners
       have recently employed in the Northern District of Georgia. (Doc.313-
       5.) The district court entertained no substantial doubt that Perkins
       was competent; rather, Perkins merely wished to impeded and delay
       the proceedings. (Doc.237-74.) Perkins’s conduct in court during



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       pretrial hearings, his rational behavior while committing the charged
       crimes, and his recorded jail calls supported the district court’s finding

       that Perkins had the ability “to engage in meaningful participation in
       the proceedings against him.” Lindsey, 339 F. App’x at 962. He merely
       chose not to.

                                  CONCLUSION

       This is not a case about a defendant trying to exercise his
       constitutional rights. Rather, Perkins seeks to manipulate the justice

       system in an effort to avoid punishment for his crimes. A reversal
       would mean that defendants could indeed avoid trial, and skirt
       punishment, by refusing to appear. This Court should affirm.


                                            Respectfully submitted,

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       This brief complies with the typeface requirements of Fed. R. App. P.

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